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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
TRITON PACIFIC SECURITIES, LLC,                                  :

                           Plaintiff,                            :

                  -against-                                      :     ORDER OF DISMISSAL

MISSION CRITICAL SERVICES CORP.,                                 :        19-CV-5789 (KNF)

                             Defendant.                          :
---------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The above-captioned action was settled, during a conference held by the Court on

October 27, 2020. Therefore, IT IS HEREBY ORDERED that the above-captioned action be,

and the same hereby is, dismissed. However, within forty-five (45) days of this Order, either

party may apply to the Court by letter for restoration of the action to the calendar of the

undersigned, if the terms and conditions under which the parties have agreed to settle their

dispute have not been fulfilled. In that event, the action will be restored.

Dated: New York, New York                                        SO ORDERED:
       November 5, 2020
